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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                          Case No. 16-20831
                                          Honorable Victoria A. Roberts
v.

TIMOTHY BARTH,

     Defendant.
______________________________/

                   ORDER DENYING DEFENDANT’S
          MOTION FOR COMPASSIONATE RELEASE [ECF No. 51]

      Timothy Paul Barth filed this motion for compassionate release under

18 U.S.C. § 3582(c) on October 10, 2020. The government opposes the

motion.

      The Court held a hearing on the motion. Samantha Baker appeared on

behalf of Mr. Barth; Sara Woodward appeared for the government.

      For the reasons stated on the record, the Court DENIES Mr. Barth’s

motion for compassionate release.

      IT IS ORDERED.
                                    S/ Victoria A. Roberts
                                    Victoria A. Roberts
                                    United States District Judge

Dated: December 21, 2020



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